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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAI‘I


   STATE OF HAWAI‘I and ISMAIL
   ELSHIKH,

                Plaintiffs,

          v.
                                                   Civil Action No. 1:17-cv-00050-
                                                   DKW-KJM
   DONALD J. TRUMP, in his official capacity
   as President of the United States; U.S.
   DEPARTMENT OF HOMELAND
                                               FIRST AMENDED COMPLAINT
   SECURITY; JOHN F. KELLY, in his official
                                               FOR DECLARATORY AND
   capacity as Secretary of Homeland Security;
                                               INJUNCTIVE RELIEF
   U.S. DEPARTMENT OF STATE; REX
   TILLERSON, in his official capacity as
   Secretary of State; and the UNITED STATES
   OF AMERICA,

                Defendants.
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                                    INTRODUCTION
         1.     The State of Hawai‘i (the “State”) brings this action to protect its
   residents, its employers, its educational institutions, and its sovereignty against
   illegal actions of President Donald J. Trump and the federal government,
   specifically: President Trump’s January 27, 2017 Executive Order, “Protecting the
   Nation From Terrorist Entry into the United States” (the “Executive Order”).
   Plaintiff Ismail Elshikh, PhD, the Imam of the Muslim Association of Hawai‘i,
   joins the State in its challenge because the Executive Order inflicts a grave injury
   on Muslims in Hawai‘i, including Mr. Elshikh, his family, and members of his
   Mosque.
         2.     President Trump’s Executive Order blocks the entry into the United
   States, including Hawai‘i, of any person from seven Muslim-majority countries:
   Iran, Iraq, Libya, Somalia, Sudan, Syria, and Yemen.1 The Executive Order has
   led to the detention of lawful permanent residents and noncitizens with valid visas
   seeking to enter or reenter the country. It has led to hundreds of persons overseas
   with valid visas—students, family members of U.S. citizens, and persons whose
   green card status was approved—being turned away from boarding plane flights to
   the United States. The Executive Order also introduces religious criteria for the
   admission of refugees into the United States, including Hawai‘i: After suspending
   all refugee admissions for 120 days, President Trump’s Executive Order prioritizes
   refugees who claim religious-based persecution where “the religion of the
   individual is a minority religion in the individual’s country of nationality.” In
   Muslim-majority countries, this means a preference for Christians.

   1
     See Executive Order No. 13769, 82 Fed. Reg. 8977 (Jan. 27, 2017). A copy of
   the Executive Order is attached as Exhibit 1. All Exhibit citations herein refer
   back to the exhibits attached to the original Complaint filed in this action on
   February 3, 2017 (Dkt. 1), which are incorporated herein by reference.

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          3.      President Trump’s Executive Order is tearing apart Hawai‘i families,
   including those of Mr. Elshikh and members of his Mosque. The Executive Order
   is subjecting a portion of Hawaii’s population, including Mr. Elshikh, his family,
   and members of his Mosque, to discrimination and second-class treatment, and
   denying some their fundamental right to travel overseas. Moreover, the Executive
   Order is damaging Hawaii’s economy, wounding Hawai‘i institutions, and eroding
   Hawaii’s sovereign interests in maintaining the separation between church and
   state and in welcoming persons from all nations around the world into the fabric of
   its society.
          4.      Plaintiffs accordingly seek an Order invalidating the portions of
   President Trump’s Executive Order challenged here.
                              JURISDICTION AND VENUE
          5.      This Court has Federal Question Jurisdiction under 28 U.S.C. § 1331
   because this action arises under the U.S. Constitution, the Administrative
   Procedure Act (“APA”), the Immigration and Nationality Act (“INA”), and other
   Federal statutes.
          6.      The Court is authorized to award the requested declaratory and
   injunctive relief under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and
   the APA, 5 U.S.C. § 706.
          7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
   and (e)(1). A substantial part of the events giving rise to this claim occurred in this
   District, and each Defendant is an officer of the United States sued in his official
   capacity.
                                         PARTIES
          8.      Plaintiffs are the State of Hawai‘i and Ismail Elshikh, PhD.




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         9.     Hawai‘i is the nation’s most ethnically diverse State, and is home to
   more than 250,000 foreign-born residents. More than 100,000 of Hawaii’s
   foreign-born residents are non-citizens.2
         10.    Estimates from the Fiscal Policy Institute show that as of 2010,
   Hawai‘i had the fifth-highest percentage of foreign-born workers of any state (20%
   of the labor force). And 22.5% of Hawai‘i business owners were foreign-born.3
         11.    Thousands of people living in Hawai‘i obtain lawful permanent
   resident status each year, including over 6,500 in 2015.4 That includes numerous
   individuals from the seven designated countries. According to DHS statistics, over
   100 Hawai‘i residents from Iran, Iraq, and Syria have obtained lawful permanent
   resident status since 2004 (DHS has withheld data pertaining to additional
   residents from the seven designated countries).5
         12.    Hawai‘i is also home to 12,000 foreign students.6 That includes
   numerous individuals from the seven designated countries. At the University of
   Hawai‘i, there are at least 27 graduate students from the seven countries studying
   pursuant to valid visas issued by the U.S. government.


   2
     United States Census Bureau, 2015 American Community Survey 1-Year
   Estimates, available at https://goo.gl/IGwJyf. A collection of the relevant data for
   Hawai‘i is attached as Exhibit 2.
   3
     The Fiscal Policy Institute, Immigrant Small Business Owners, at 24 (June 2012),
   available at https://goo.gl/vyNK9W.
   4
     U.S. Department of Homeland Security, Lawful Permanent Residents
   Supplemental Table 1: Persons Obtaining Legal Permanent Resident Status by
   State or Territory of Residence and Country of Birth Fiscal Year 2015, available at
   https://goo.gl/ELYIkn. Copies of these tables for fiscal years 2005 through 2015
   are attached as Exhibit 3.
   5
     See Exhibit 3.
   6
     Hawaii Department of Business, Economic Development & Tourism, The
   Economic Impact of International Students in Hawaii – 2016 Update, at 8 (June
   2016), available at https://goo.gl/mogNMA.

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         13.    In 2016, Hawaii’s foreign students contributed over $400 million to
   Hawaii’s economy through the payment of tuition and fees, living expenses, and
   other activities. These foreign students supported 7,590 jobs and generated more
   than $43 million in state tax revenues.7
         14.    In 2009, foreign residents (i.e., non-citizens who had not obtained
   lawful permanent resident status) made up 42.9% of doctorate students, and 27.7%
   of master’s students, in science, technology, engineering, and mathematics
   (“STEM”) programs in Hawai‘i.8
         15.    Hawaii’s educational institutions have diverse faculties. At the
   University of Hawai‘i, there are approximately 477 international faculty members
   legally present in the United States. There are at least 10 faculty members at the
   University who are legal permanent residents from one of the seven designated
   countries, and 30 visiting faculty members with valid visas who are from one of
   the seven designated countries.
         16.    Tourism is Hawaii’s “lead economic driver.”9 In 2015 alone, Hawai‘i
   welcomed 8.7 million visitors accounting for $15 billion in spending.10
         17.    Hawai‘i is home to several airports, including Honolulu International
   Airport and Kona International Airport.
         18.    David Yutaka Ige is the Governor of Hawai‘i, the chief executive
   officer of the State of Hawai‘i. The Governor is responsible for overseeing the

   7
     The Economic Impact of International Students in Hawaii – 2016 Update, supra,
   at 10-11.
   8
     U.S. Chamber of Commerce et al., Help Wanted: The Role of Foreign Workers in
   the Innovation Economy, at 21 (2013), available at https://goo.gl/c3BYBu.
   9
     Hawai‘i Tourism Authority, 2016 Annual Report to the Hawai‘i State Legislature,
   at 20, available at https://goo.gl/T8uiWW.
   10
      Hawai‘i Tourism Authority, 2015 Annual Visitor Research Report, at 2,
   available at https://goo.gl/u3RQmX. A copy of the table of contents and executive
   summary of this report is attached as Exhibit 4.

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   operations of the State government, protecting the welfare of Hawaii’s citizens,
   and ensuring that the laws of the State are faithfully executed.
         19.    Douglas S. Chin is the Attorney General of Hawai‘i, the chief legal
   officer of the State. The Attorney General is charged with representing the State in
   Federal Court on matters of public concern.
         20.    The Constitution of the State of Hawai‘i provides that “[n]o law shall
   be enacted respecting an establishment of religion, or prohibiting the free exercise
   thereof.” Haw. Const. Art. I § 4. And the State has declared that the practice of
   discrimination “because of race, color, religion, age, sex, including gender identity
   or expression, sexual orientation, marital status, national origin, ancestry, or
   disability” is against public policy. Haw. Rev. Stat. Ann. § 381-1; accord id. §§
   489-3 & 515-3.
         21.    The State has an interest in protecting the health, safety, and welfare
   of its residents—including residents awaiting adjustment of their immigration
   status or naturalization—and in safeguarding its ability to enforce State law. The
   State also has an interest in “assuring that the benefits of the federal system,”
   including the rights and privileges protected by the United States Constitution and
   Federal statutes, “are not denied to its general population.” Alfred L. Snapp &
   Sons v. Puerto Rico, 458 U.S. 592, 608 (1982). The State’s interests extend to all
   of the State’s residents, including individuals who suffer indirect injuries and
   members of the general public.
         22.    Plaintiff Ismail Elshikh, PhD, is an American citizen of Egyptian
   descent. He has been a resident of Hawai‘i for over a decade.
         23.    Mr. Elshikh is the Imam of the Muslim Association of Hawai‘i. He is
   a leader within Hawaii’s Islamic community.
         24.    Mr. Elshikh’s wife is of Syrian descent and is also a resident of
   Hawai‘i.

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         25.    Mr. Elshikh’s mother-in-law is a Syrian national, living in Syria. Mr.
   Elshikh’s wife filed an I-130 Petition for Alien Relative on behalf of her mother in
   September 2015. The I-130 Petition was approved in February 2016.
         26.    Mr. Elshikh and his wife have five children. They are all American
   citizens and residents of Hawai‘i.
         27.    Defendant Donald J. Trump is the President of the United States. He
   issued the January 27, 2017 Executive Order that is the subject of this Complaint.
         28.    Defendant U.S. Department of Homeland Security (“DHS”) is a
   federal cabinet agency responsible for implementing and enforcing the
   Immigration and Nationality Act (“INA”) and the Executive Order that is the
   subject of this Complaint. DHS is a Department of the Executive Branch of the
   United States Government, and is an agency within the meaning of 5. U.S.C. §
   552(f). U.S. Customs and Border Protection (“CBP”) is an Operational and
   Support Component agency within DHS, and is responsible for detaining and
   removing non-citizens from Iran, Iraq, Syria, Somalia, Sudan, Libya, and Yemen
   who arrive at air, land, and sea ports across the United States, including Honolulu
   International Airport and Kona International Airport.
         29.    Defendant John F. Kelly is the Secretary of Homeland Security. He is
   responsible for implementing and enforcing the INA and the Executive Order that
   is the subject of this Complaint, and he oversees CBP. He is sued in his official
   capacity.
         30.    Defendant U.S. Department of State is a federal cabinet agency
   responsible for implementing the U.S. Refugee Admissions Program and the
   Executive Order that is the subject of this Complaint. The Department of State is a
   Department of the Executive Branch of the United States Government, and is an
   agency within the meaning of 5 U.S.C. § 552(f).



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         31.    Defendant Rex Tillerson is the Secretary of State. He oversees the
   Department of State’s implementation of the U.S. Refugee Admissions Program
   and the Executive Order that is the subject of this Complaint. The Secretary of
   State has authority to determine and implement certain visa procedures for non-
   citizens. Secretary Tillerson is sued in his official capacity.
         32.    Defendant United States of America includes all government agencies
   and departments responsible for the implementation of the INA, and for detention
   and removal of non-citizens from Iran, Iraq, Syria, Somalia, Sudan, Libya, and
   Yemen who arrive at air, land, and sea ports across the United States, including
   Honolulu International Airport and Kona International Airport.
                                     ALLEGATIONS
   A.    President Trump’s Campaign Promises
         33.    President Trump repeatedly campaigned on the promise that he would
   ban Muslim immigrants and refugees from entering the United States, particularly
   from Syria, and maintained the same rhetoric after he was elected.
         34.    On July 11, 2015, Mr. Trump claimed (falsely) that Christian refugees
   from Syria are blocked from entering the United States. In a speech in Las Vegas,
   Mr. Trump said, “If you’re from Syria and you’re a Christian, you cannot come
   into this country, and they’re the ones that are being decimated. If you are
   Islamic . . . it’s hard to believe, you can come in so easily.”11
         35.    On September 30, 2015, while speaking in New Hampshire about the
   10,000 Syrian refugees the Obama Administration had accepted for 2016, Mr.




   11
     Louis Jacobson, Donald Trump says if you’re from Syria and a Christian, you
   can’t come to the U.S. as a refugee, Politifact (July 20, 2015 10:00 AM ET),
   https://goo.gl/fucYZP.

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 Trump said “if I win, they’re going back!” He said “they could be ISIS,” and
 referred to Syrian refugees as a “200,000-man army.”12
       36.   On December 7, 2015, shortly after the terror attacks in Paris, Mr.
 Trump issued a press release entitled: “Donald J. Trump Statement on Preventing
 Muslim Immigration.”13 The press release stated: “Donald J. Trump is calling for
 a total and complete shutdown of Muslims entering the United States . . . .” The
 release asserted that “there is great hatred towards Americans by large segments of
 the Muslim population.” The press release remains accessible on
 www.donaldjtrump.com as of this filing.
       37.   The next day, when questioned about the proposed “shutdown,” Mr.
 Trump compared his proposal to President Franklin Roosevelt’s internment of
 Japanese Americans during World War II, saying, “[Roosevelt] did the same
 thing.”14 When asked what the customs process would look like for a Muslim non-
 citizen attempting to enter the United States, Mr. Trump said, “[T]hey would say,
 are you Muslim?” The interviewer responded: “And if they said ‘yes,’ they would
 not be allowed into the country.” Mr. Trump said: “That’s correct.”15
       38.   During a Republican primary debate in January 2016, Mr. Trump was
 asked about how his “comments about banning Muslims from entering the country




 12
    Ali Vitali, Donald Trump in New Hampshire: Syrian Refugees Are ‘Going Back,
 NBC News (Oct. 1, 2015 7:33 AM ET), https://goo.gl/4XSeGX.
 13
    Press Release, Donald J. Trump for President, Donald J. Trump Statement on
 Preventing Muslim Immigration (Dec. 7, 2015), available at https://goo.gl/D3OdJJ.
 A copy of this press release is attached as Exhibit 5.
 14
    Jenna Johnson, Donald Trump says he is not bothered by comparisons to Hitler,
 The Washington Post (Dec. 8, 2016), https://goo.gl/6G0oH7.
 15
    Nick Gass, Trump not bothered by comparisons to Hitler, Politico (Dec. 8, 2015
 7:51 AM ET), https://goo.gl/IkBzPO.

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 created a firestorm,” and whether he wanted to “rethink this position.” He said,
 “No.”16
       39.    A few months later, in March 2016, Mr. Trump said, during an
 interview, “I think Islam hates us.” Mr. Trump was asked, “Is there a war between
 the West and radical Islam, or between the West and Islam itself?” He replied:
 “It’s very hard to separate. Because you don’t know who’s who.”17
       40.    Later, as the presumptive Republican nominee, Trump began using
 facially neutral language, at times, to describe the Muslim ban. Following the
 mass shootings at an Orlando nightclub in June 2016, Mr. Trump gave a speech
 promising to “suspend immigration from areas of the world where there’s a proven
 history of terrorism against the United States, Europe or our allies until we fully
 understand how to end these threats.” But he continued to link that idea to the
 need to stop “importing radical Islamic terrorism to the West through a failed
 immigration system.” He said that “to protect the quality of life for all
 Americans—women and children, gay and straight, Jews and Christians and all
 people then we need to tell the truth about radical Islam.” And he criticized
 Hillary Clinton for, as he described it, “her refusal to say the words ‘radical
 Islam,’” stating: “Here is what she said, exact quote, ‘Muslims are peaceful and
 tolerant people, and have nothing whatsoever to do with terrorism.’ That is Hillary
 Clinton.” Mr. Trump further stated that the Obama administration had “put
 political correctness above common sense,” but said that he “refuse[d] to be
 politically correct.”

 16
    The American Presidency Project, Presidential Candidates Debates: Republican
 Candidates Debate in North Charleston, South Carolina (January 14, 2016),
 https://goo.gl/se0aCX.
 17
    Anderson Cooper 360 Degrees: Exclusive Interview With Donald Trump (CNN
 television broadcast Mar. 9, 2016 8:00 PM ET), transcript available at
 https://goo.gl/y7s2kQ.

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       41.    Mr. Trump’s June 2016 speech also covered refugees. He said that
 “[e]ach year the United States permanently admits 100,000 immigrants from the
 Middle East and many more from Muslim countries outside of the Middle East.
 Our government has been admitting ever-growing numbers, year after year,
 without any effective plan for our own security.”18 He issued a press release
 stating: “We have to stop the tremendous flow of Syrian refugees into the United
 States.”19
       42.    Later, on July 24, 2016, Mr. Trump was asked: “The Muslim ban. I
 think you’ve pulled back from it, but you tell me.” Mr. Trump responded: “I don’t
 think it’s a rollback. In fact, you could say it’s an expansion. I’m looking now at
 territories. People were so upset when I used the word Muslim. Oh, you can’t use
 the word Muslim. Remember this. And I’m okay with that, because I’m talking
 territory instead of Muslim.”20
       43.    During an October 9, 2016 Presidential Debate, Mr. Trump was asked:
 “Your running mate said this week that the Muslim ban is no longer your position.
 Is that correct? And if it is, was it a mistake to have a religious test?” Mr. Trump
 replied: “The Muslim ban is something that in some form has morphed into a[n]
 extreme vetting from certain areas of the world.” When asked to clarify whether
 “the Muslim ban still stands,” Mr. Trump said, “It’s called extreme vetting.”21



 18
    Ryan Teague Beckwith, Read Donald Trump’s Speech on the Orlando Shooting,
 Time (June 13, 2016 4:36 PM ET), https://goo.gl/kgHKrb.
 19
    Press Release, Donald J. Trump for President, Donald J. Trump Addresses
 Terrorism, Immigration, and National Security (June 13, 2016), available at
 https://goo.gl/GcrFhw.
 20
    Meet the Press (NBC television broadcast July 24, 2016), transcript available at
 https://goo.gl/jHc6aU. A copy of this transcript is attached as Exhibit 6.
 21
    The American Presidency Project, Presidential Debates: Presidential Debate at
 Washington University in St. Louis, Missouri (Oct. 9, 2016), https://goo.gl/iIzf0A.

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       44.    Then, on December 21, 2016, following terror attacks in Berlin, Mr.
 Trump was asked whether he had decided “to rethink or re-evaluate [his] plans to
 create a Muslim registry or ban Muslim immigration to the United States.” Mr.
 Trump replied: “You know my plans. All along, I’ve been proven to be right.”22
 B.    President Trump’s Executive Order
       45.    Within a week of being sworn in, President Trump acted upon his
 ominous campaign promises to restrict Muslim immigration, curb refugee
 admissions, and prioritize non-Muslim refugees.
       46.    In an interview on January 25, 2017, Mr. Trump discussed his plans to
 implement “extreme vetting” of people seeking entry into the United States. He
 remarked: “[N]o, it’s not the Muslim ban. But it’s countries that have tremendous
 terror. . . . [I]t’s countries that people are going to come in and cause us
 tremendous problems.”23
       47.    Two days later, on January 27, 2017, President Trump signed the
 Executive Order that is the subject of this Complaint, which is entitled “Protecting
 the Nation From Terrorist Entry into the United States.”
       48.    The Executive Order was issued without a notice and comment period
 and without interagency review. Moreover, the Executive Order was issued with
 little explanation of how it could further its stated objective.
       49.    When signing the Executive Order, President Trump read the title,
 looked up, and said: “We all know what that means.”24 President Trump said he



 22
    President-Elect Trump Remarks in Palm Beach, Florida, C-SPAN (Dec. 21,
 2016), https://goo.gl/JlMCst.
 23
    Transcript: ABC News Anchor David Muir Interviews President Trump, ABC
 News (Jan. 25, 2017, 10:25 PM ET), https://goo.gl/NUzSpq.
 24
    Trump Signs Executive Orders at Pentagon, ABC News (Jan. 27, 2017),
 https://goo.gl/7Jzird.

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 was “establishing a new vetting measure to keep radical Islamic terrorists out of
 the United States of America,” and that: “We don’t want them here.”25
       50.    Section 3 of the Executive Order is entitled “Suspension of Issuance
 of Visas and Other Immigration Benefits to Nationals of Countries of Particular
 Concern.” Section 3(c) “suspends entry into the United States, as immigrants and
 nonimmigrants” of persons from countries referred to in Section 217(a)(12) of the
 INA [8 U.S.C. § 1187(a)(12)], that is: Iran, Iraq, Libya, Somalia, Sudan, Syria, and
 Yemen.
       51.    The majority of the population in each of these seven countries is
 Muslim.
       52.    Not a single fatal terrorist attack has been perpetrated in the United
 States by a national of one of these seven countries since at least 1975.26 Other
 countries whose nationals have perpetrated fatal terrorist attacks in the United
 States are not part of the immigration ban.27
       53.    Section 3(c) means that Lawful Permanent Residents, foreign students
 enrolled in U.S. universities (including in Hawai‘i), individuals employed in the
 United States on temporary work visas, and others must be halted at the border if
 they arrive in the United States (in Hawai‘i or elsewhere) from one of the seven
 designated countries, including if he or she leaves the country and tries to return.
 Section 3(g) allows the Secretaries of State and Homeland Security to make
 exceptions when they determine that doing so is “in the national interest.”
 25
    Sarah Pulliam Bailey, Trump signs order limiting refugee entry, says he will
 prioritize Christian refugees, The Washington Post (Jan. 27, 2017),
 https://goo.gl/WF2hmS.
 26
    Alex Nowrasteh, Little National Security Benefit to Trump’s Executive Order on
 Immigration, Cato Institute Blog (Jan. 25, 2017 3:31 PM ET),
 https://goo.gl/BCv6rQ.
 27
    Scott Schane, Immigration Ban Is Unlikely to Reduce Terrorist Threat, Experts
 Say, N.Y. Times (Jan. 28, 2017), https://goo.gl/MBvOTk.

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       54.    The Executive Order also provides for an expansion of the
 immigration ban to nationals from additional countries. Section 3(d) directs the
 Secretary of State to (within about 30 days) “request [that] all foreign
 governments” provide the United States with information to determine whether a
 person is a security threat. And, should any countries fail to comply, Section 3(e)
 directs the Secretaries of Homeland Security and State to “submit to the President a
 list of countries recommended for inclusion” in the ban from among any countries
 who do not provide the information requested.
       55.    Section 3(f) gives the Secretary of State and the Secretary of
 Homeland Security further authority to “submit to the President the names of any
 additional countries recommended for similar treatment” in the future.
       56.    Section 5 of the Executive Order is entitled “Realignment of the U.S.
 Refugee Admissions Program for Fiscal Year 2017.” Section 5(a) directs the
 Secretary of State to “suspend the U.S. Refugee Admissions Program (USRAP) for
 120 days.” Section 5(e) permits the Secretaries of State and Homeland Security to
 admit individuals as refugees on a case-by-case basis, but only if they determine
 that admission of the refugee is in the “national interest,” including “when the
 person is a religious minority in his country of nationality facing religious
 persecution.”
       57.    Section 5(b) directs the Secretaries of State and Homeland Security,
 “[u]pon resumption of USRAP admissions,” to “prioritize refugee claims made by
 individuals on the basis of religious-based persecution, provided that the religion
 of the individual is a minority religion in the individual’s country of nationality.”
 In Section 5(c), President Trump “proclaim[s] that the entry of nationals of Syria
 as refugees is detrimental to the interests of the United States and thus suspends
 any such entry” indefinitely.



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        58.     The restrictions in Sections 3 and 5 of the Executive Order apply
 whether or not a non-citizen poses any individualized threat of violence, or has any
 connection to terrorist activities in any way.
        59.     In a January 27, 2017 interview with Christian Broadcasting Network,
 President Trump said that persecuted Christians would be given priority under the
 Executive Order. He said (once again, falsely): “Do you know if you were a
 Christian in Syria it was impossible, at least very tough to get into the United
 States? If you were a Muslim you could come in, but if you were a Christian, it
 was almost impossible and the reason that was so unfair, everybody was
 persecuted in all fairness, but they were chopping off the heads of everybody but
 more so the Christians. And I thought it was very, very unfair. So we are going to
 help them.”28
        60.     The day after signing the Executive Order, President Trump advisor
 Rudolph Giuliani explained on television how the Executive Order came to be. He
 said: “When [Mr. Trump] first announced it, he said, ‘Muslim ban.’ He called me
 up. He said, ‘Put a commission together. Show me the right way to do it
 legally.’”29
 C.     Effects of the Executive Order
        61.     Upon issuance of the Executive Order, Defendants began detaining
 people at U.S. airports who, but for the Executive Order, were legally entitled to
 enter the United States. Some were also removed from the United States.
 28
    Brody File Exclusive: President Trump Says Persecuted Christians Will Be
 Given Priority as Refugees, Christian Broadcasting Network (Jan. 27, 2017),
 https://goo.gl/2GLB5q. A printout of this webpage is attached as Exhibit 7.
 Additional pages including advertisements, reader comments, and other extraneous
 material are omitted.
 29
    Amy B. Wang, Trump asked for a ‘Muslim ban,’ Giuliani says – and ordered a
 commission to do it ‘legally’, The Washington Post (Jan. 29, 2017),
 https://goo.gl/Xog80h. A copy of this article is attached as Exhibit 8.

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 Estimates indicate that over 100 people were detained upon arrival at U.S.
 airports.30
        62.    Defendants have not afforded people an opportunity to apply for
 asylum, withholding of removal, or other relief before removing them, and have
 even prevented detained individuals from speaking with their attorneys.
        63.    Among others, Defendants have detained and/or removed:
               a.    Lawful permanent residents, including dozens at Dulles
                     International Airport in Virginia,31 and others at Los Angeles
                     International Airport who were pressured to sign Form I-407 to
                     relinquish their green cards;32
               b.    People with special immigrant visas, including an Iraqi national
                     at John F. Kennedy International Airport who worked as an
                     interpreter for the U.S. Army in Iraq;33
               c.    A doctor at the Cleveland Clinic with a valid work visa who
                     was trying to return home from vacation;34
               d.    People with valid visas to visit family in the United States,
                     including a Syrian woman sent to Saudi Arabia after being



 30
    Michael D. Shear et al., Judge Blocks Trump Order on Refugees Amid Chaos
 and Outcry Worldwide, N.Y. Times (Jan. 28, 2017), https://goo.gl/OrUJEr.
 31
    See, e.g., Petition ¶ 2, Aziz v. Trump, No. 1:17-cv-116 (E.D. Va. Jan. 28, 2017).
 32
    Leslie Berestein Rojas et al., LAX immigration agents asks detainees to sign
 away their legal residency status, attorneys say, Southern California Public Radio
 News (Jan. 30, 2017), https://goo.gl/v6JoUC; Brenda Gazzar & Cynthia Washicko,
 Thousands protest Trump’s immigration order at LAX, Los Angeles Daily News
 (Jan. 29, 2017), https://goo.gl/1vA37M.
 33
    See, e.g., Petition 2, Darweesh v. Trump, No. 1:17-cv-00480 (E.D.N.Y. Jan. 28,
 2017).
 34
    Jane Morice, Two Cleveland Clinic doctors vacationing in Iran detained in New
 York, then released, Cleveland.com (Jan. 29, 2017), https://goo.gl/f0EGV3.

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                    convinced by officials at O’Hare International Airport to sign
                    paperwork cancelling her visa.35
       64.    People overseas were blocked from boarding flights to the United
 States or told they could no longer come here. At a hearing in the U.S. District
 Court for the Eastern District of Virginia on February 3, 2017, an attorney for the
 Federal Government revealed that over 100,000 visas have been revoked since the
 Executive Order was signed a week earlier on January 27.36 Those affected
 included:
              a.    People with valid student, work, or visitor visas;
              b.    People who could seek asylum in the United States;
              c.    Syrian refugees with visas and U.S. placements lined up,
                    including a family assisted by a church in Sheboygan,
                    Wisconsin;37
              d.    Parents seeking to reunite with children they were forced to
                    leave behind, or have never met;38 and
              e.    People caught in limbo because they cannot enter the United
                    States, return to their native country, or stay much longer where
                    they are on temporary visas.39


 35
    John Rogers, Longtime US residents, aspiring citizens caught up in ban,
 StarTribune (Jan. 30, 2017 1:45 AM ET), https://goo.gl/eEPAuE.
 36
    Rachael Revesz, Donald Trump immigration ban: More than 100,000 visas
 revoked after travel restrictions imposed on seven Muslim-majority countries, The
 Independent (Feb. 3, 2017 1:24 PM ET), https://goo.gl/5KnCUh.
 37
    Families, students, scientists: Faces of the immigration ban, USA Today
 Network (Jan. 31, 2017 5:35 AM ET), https://goo.gl/VKuhds.
 38
    Refugees Anticipate Family Reunions, Instead Endure Doubt, ABC News (Jan.
 31, 2017 4:56 PM ET), https://goo.gl/3JT6iC.
 39
    Jamie Doward, US-bound migrants blocked from flying to JFK airport, The
 Guardian (Jan. 28, 2017), https://goo.gl/pWu0NZ.

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       65.    Confusion, backlash, and habeas corpus litigation arose in the wake of
 the Executive Order, including with regard to whether the Executive Order applied
 to lawful permanent residents. Within the first 72 hours that the Executive Order
 was in effect, Defendants reportedly changed their minds three times about
 whether it did.40
       66.    Hundreds of State Department officials signed a memorandum
 circulated through the State Department’s “Dissent Channel” stating that the
 Executive Order “runs counter to core American values” including
 “nondiscrimination,” and that “[d]espite the Executive Order’s focus on them, a
 vanishingly small number of terror attacks on U.S. soil have been committed by
 foreign nationals” here on visas.41
       67.    Likewise, Senators John McCain (R-AZ) and Lindsey Graham (R-SC)
 stated: “This executive order sends a signal, intended or not, that America does not
 want Muslims coming into our country.”42
       68.    DHS Secretary Kelly issued a press release on Sunday, January 29,
 2017, stating that: “In applying the provisions of the president’s executive order, I
 hereby deem the entry of lawful permanent residents to be in the national
 interest. Accordingly, absent the receipt of significant derogatory information




 40
    Evan Perez et al., Inside the confusion of the Trump executive order and travel
 ban, CNN Politics (Jan. 30, 2017 11:29 AM ET), https://goo.gl/Z3kYEC. A
 printed copy of this article is attached as Exhibit 9.
 41
    Jeffrey Gettleman, State Department Dissent Cable on Trump’s Ban Draws
 1,000 Signatures, N.Y. Times (Jan. 31, 2017), https://goo.gl/svRdIw. A copy of
 the Dissent Channel memorandum is attached as Exhibit 10.
 42
    Press Release, Senator John McCain, Statement By Senators McCain & Graham
 On Executive Order On Immigration (Jan. 29, 2017), available at
 https://goo.gl/EvHvmc.

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 indicating a serious threat to public safety and welfare, lawful permanent resident
 status will be a dispositive factor in our case-by-case determinations.”43
       69.    Secretary Kelly’s statement thus indicated that the Executive Order
 does apply to lawful permanent residents from the designated countries, and only
 the Secretary’s determination under Section 3(g) that admission of lawful
 permanent residents, absent certain information reviewed on a case-by-case basis,
 is in the national interest, allows them to enter.
       70.    Then, on February 1, 2017, the White House issued a Memorandum
 taking yet another position on green-card holders, now purporting to “clarify” that
 such persons were never covered by Sections 3 and 5 of the Order.
       71.    Because of the Executive Order, non-citizens from the seven
 designated countries who are legally present in the United States cannot leave the
 country for family, educational, religious, or business reasons if they wish to return.
       72.    Among others, people planning to travel overseas on ummas, a
 Muslim pilgrimage, are unsure whether they can make the trip.44
       73.    Hawai‘i is home to numerous non-citizens from the seven designated
 countries—legal permanent residents, foreign students, and temporary workers—
 whose lives have now been upended by the Executive Order. Some non-citizens
 have been forced to cancel or postpone travel plans. Others may be forced to
 abandon their studies at Hawaii’s universities in order to be reunited with
 immediate family members abroad.
       74.    Conversely, nationals of the seven designated countries cannot
 relocate to or even visit Hawai‘i for family, educational, religious, or business
 43
    Press Release, U.S. Department of Homeland Security, Statement By Secretary
 John Kelly On The Entry Of Lawful Permanent Residents Into The United States
 (Jan. 29, 2017), available at https://goo.gl/6krafi. A copy of this press release is
 attached as Exhibit 11.
 44
    US-bound migrants blocked from flying to JFK airport, supra.

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 reasons. As a result, the Executive Order is blocking Hawai‘i residents—including
 U.S. citizens—from reunifying with their families.
       75.    Both citizens and non-citizens living in Hawai‘i are harmed by the
 Executive Order.
       76.    Although Mr. Elshikh, his wife, and their children are all American
 citizens, and although Mr. Elshikh’s wife’s I-130 Petition was granted, the
 Executive Order will prevent Mr. Elshikh’s mother-in-law from visiting her family
 in Hawai‘i. She last visited the family in 2005, when she stayed for one month.
 She has not met two of Mr. Elshikh’s children, and only Mr. Elshikh’s oldest child
 remembers meeting her grandmother. The family is devastated.
       77.    Mr. Elshikh’s children, all under twelve years of age, are deeply
 affected by the Executive Order. President Trump’s Executive Order conveys to
 them a message that their own country would discriminate against individuals who
 share their ethnicity, including members of their own family, and who hold the
 same religious beliefs.
       78.    Members of Mr. Elshikh’s Mosque are also affected by the Executive
 Order. Many are upset. Some are even fearful. Muslims in the Hawai‘i Islamic
 community feel that the Executive Order targets Muslim citizens because of their
 religious views and national origin. Mr. Elshikh believes that, as a result of the
 ban, he and members of the Mosque will not be able to associate as freely with
 those of other faiths.
       79.    Mr. Elshikh feels that, as a result of the Executive Order, there is now
 a favored and disfavored religion in Hawai‘i and the United States, i.e., that a
 religion has been established.
       80.    Many members of Mr. Elshikh’s Mosque have family and friends
 living in the countries listed in the Executive Order. Because of the Executive
 Order, they live in forced separation from their family and friends.

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       81.    Defendants are enforcing the Executive Order on Hawai‘i soil,
 including at Honolulu and Kona International Airports.
       82.    As a result of the Executive Order, the airport facilities provided by
 Hawaii’s State Department of Transportation for international passengers coming
 into Hawai‘i will be used by the federal government to carry out the unlawful acts
 required by the Executive Order.
       83.    As a result of the Executive Order, State universities and State
 agencies cannot accept qualified applicants for open positions—as students,
 researchers, post-docs, faculty members, or employees—if they are residents of
 one of the seven designated countries. This contravenes policies at the State’s
 universities and agencies to promote diversity and recruit talent from abroad.45
       84.    Beyond universities and government entities, other employers within
 the State cannot recruit and/or hire workers from the seven designated countries.
       85.    The University of Hawai‘i and other State learning institutions depend
 on the collaborative exchange of ideas, including among people of different
 religions and national backgrounds. For this reason, the University of Hawai‘i has
 study abroad or exchange programs in over thirty countries, and international
 agreements for faculty collaboration with over 350 international institutions
 spanning forty different countries. The Executive Order threatens such
 educational collaboration and harms the ability of the University of Hawai‘i to
 fulfill its educational mission.

 45
   See, e.g., State of Hawai‘i, Department of Human Resources Development,
 Policy No. 601.001: Discrimination / Harassment-Free Workplace Policy (revised
 Nov. 16, 2016), available at https://goo.gl/7q6yzJ; University of Hawai‘i, Mānoa,
 Policy M1.100: Non-Discrimination and Affirmative Action Policy, available at
 https://goo.gl/6YqVl8 (last visited Feb. 2, 2017 8:27 PM ET); see also, e.g.,
 Campus Life: Diversity, University of Hawai‘i, Mānoa, https://goo.gl/3nF5C9 (last
 visited Feb. 2, 2017 8:27 PM ET).

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       86.    The Executive Order is depressing international travel to and tourism
 in Hawai‘i. Hawai‘i can no longer welcome tourists from the seven designated
 countries. This directly harms Hawai‘i businesses and, in turn, the State’s revenue.
 In 2015 alone, Hawai‘i welcomed over 6,800 visitors from the Middle East and
 over 2,000 visitors from Africa.
       87.    Even with respect to countries not currently targeted by the Executive
 Order, there is a likely “chilling effect” on tourism to the United States and to
 Hawai‘i. Non-citizen Muslims in the United States who would otherwise consider
 taking vacations will be less likely to travel using airports, and thus less likely to
 visit Hawai‘i. The Executive Order also contemplates an expansion of the
 immigration ban and in fact authorizes the Secretaries of State and Homeland
 Security to recommend additional countries for inclusion in the near future. This
 likely instills fear and a disinclination to travel to the United States among
 foreigners in other countries that President Trump has been hostile towards—i.e.,
 residents of other Muslims countries, China, and Mexico.
       88.    The Executive Order gives rise to a global perception that the United
 States is an exclusionary country, and it dampens the appetite for international
 travel here generally.
       89.    A decrease in national and international tourism would have a severe
 impact on Hawaii’s economy.
       90.    The Executive Order also throttles the efforts of the State and its
 residents to resettle and assist refugees. Refugees from numerous countries,
 including Iraq, have resettled in Hawai‘i in recent years.46 While the State’s
 refugee program is small, it is an important part of the State’s culture, and aiding

 46
   U.S. Department of Health & Human Servs., Office of Refugee Resettlement,
 Overseas Refugee Arrival Data: Fiscal Years 2012-2015, available at
 https://goo.gl/JcgkDM.

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 refugees is central to the mission of private Hawai‘i organizations like Catholic
 Charities Hawai‘i and the Pacific Gateway Center.47 In late 2015, as other states
 objected to the admission of Syrian refugees, Governor Ige issued a statement that
 “slamming the door in their face would be a betrayal of our values.” Governor Ige
 explained: “Hawai‘i and our nation have a long history of welcoming refugees
 impacted by war and oppression. Hawai‘i is the Aloha State, known for its
 tradition of welcoming all people with tolerance and mutual respect.”48 But as
 long as the Executive Order prohibits refugee admissions, the State and its
 residents are prevented from helping refugees resettle in Hawai‘i.
       91.    In the event refugee admissions resume, the Executive Order
 promotes the admission of Christian refugees and impedes the admission of
 Muslim refugees. The Executive Order thus establishes a preference by the
 Federal Government for Christianity and against Islam, despite the Establishment
 Clauses of the Constitutions of the State of Hawai‘i and the United States.
       92.    President Trump’s Executive Order is antithetical to Hawai‘i’s state
 identity and spirit. For many in Hawai‘i, including State officials, the Executive
 Order conjures up the memory of the Chinese Exclusion Acts and the imposition of
 martial law and Japanese internment after the bombing of Pearl Harbor. As
 Governor Ige expressed two days after President Trump issued the Executive
 Order, “Hawai‘i has a proud history as a place immigrants of diverse backgrounds
 can achieve their dreams through hard work. Many of our people also know all too
 well the consequences of giving in to fear of newcomers. The remains of the
 internment camp at Honouliuli are a sad testament to that fear. We must remain
 47
    See About: Our History, Catholic Charities Hawai‘i, https://goo.gl/deVBla (last
 visited Feb. 2, 2017 8:28 PM ET); About: Mission, Pacific Gateway Center,
 https://goo.gl/J8bN5k (last visited Feb. 2, 2017 8:29 PM ET).
 48
    Press Release, Governor of the State of Hawai‘i, Governor David Ige’s
 Statement On Syrian Refugees (Nov. 16, 2015), available at https://goo.gl/gJcMIv.

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 true to our values and be vigilant where we see the worst part of history about to be
 repeated.”49
                                CAUSES OF ACTION
                                       COUNT I
                     (First Amendment – Establishment Clause)
       93.      The foregoing allegations are realleged and incorporated by reference
 herein.
       94.      The Establishment Clause of the First Amendment prohibits the
 Federal Government from officially preferring one religion over another.
       95.      Sections 3 and 5 of the Executive Order, as well as Defendants’
 statements regarding the Executive Order and their actions to implement it, are
 intended to disfavor Islam and favor Christianity.
       96.      Sections 3 and 5 of the Executive Order, as well as Defendants’
 statements regarding the Executive Order and their actions to implement it, have
 the effect of disfavoring Islam and favoring Christianity.
       97.      Through their actions described in this Complaint, Defendants have
 violated the Establishment Clause. Defendants’ violation inflicts ongoing harm
 upon Mr. Elshikh, his family, and members of his Mosque, as well as other
 Hawai‘i residents and the sovereign interests of the State of Hawai‘i.
                                      COUNT II
                        (Fifth Amendment – Equal Protection)
       98.      The foregoing allegations are realleged and incorporated by reference
 herein.



 49
   Press Release, Governor of the State of Hawai‘i, Statement of Governor David
 Ige On Immigration To The United States (Jan. 29, 2017), available at
 https://goo.gl/62w1fh.

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       99.      The Due Process Clause of the Fifth Amendment prohibits the Federal
 Government from denying equal protection of the laws, including on the basis of
 religion and/or national origin, nationality, or alienage.
       100. The Executive Order was motivated by animus and a desire to
 discriminate on the basis of religion and/or national origin, nationality, or alienage.
       101. The Executive Order differentiates between people based on their
 religion and/or national origin, nationality, or alienage and is accordingly subject to
 strict scrutiny. It fails that test, because it is over- and under-inclusive in
 restricting immigration for security reasons, and the statements by President Trump
 and his advisors provide direct evidence of the Executive Order’s discriminatory
 motivations.
       102. For the same reason, the Executive Order is not rationally related to a
 legitimate government interest.
       103. Sections 3 and 5 of the Executive Order, as well as Defendants’
 statements regarding the Executive Order and their actions to implement it,
 discriminate against individuals based on their religion and/or national origin,
 nationality, or alienage without lawful justification.
       104. Through their actions described in this Complaint, Defendants have
 violated the Equal Protection guarantees of the Fifth Amendment. Defendants’
 violation inflicts ongoing harm upon Mr. Elshikh, his family, and members of his
 Mosque, as well as other Hawai‘i residents and the sovereign interests of the State
 of Hawai‘i.
                                       COUNT III
                    (Fifth Amendment – Substantive Due Process)
       105. The foregoing allegations are realleged and incorporated by reference
 herein.



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        106. The right to international travel is protected by the Due Process
 Clause of the Fifth Amendment.
        107. The Executive Order curtails that right, without any legal justification.
        108. Through their actions described in this Complaint, Defendants have
 violated the Substantive Due Process guarantees of the Fifth Amendment.
 Defendants’ violation inflicts ongoing harm upon Mr. Elshikh, his family, and
 members of his Mosque, as well as other Hawai‘i residents and the sovereign
 interests of the State of Hawai‘i.
                                      COUNT IV
                   (Fifth Amendment – Procedural Due Process)
        109. The foregoing allegations are realleged and incorporated by reference
 herein.
        110. The Due Process Clause of the Fifth Amendment prohibits the Federal
 Government from depriving individuals of liberty interests without due process of
 law.
        111. Non-citizens, including lawful permanent residents and non-
 immigrants holding valid visas, have a liberty interest in leaving and entering the
 country, and in being free from unlawful detention.
        112. The Due Process Clause establishes a minimum level of procedural
 protection before those liberty interests can be deprived. A non-citizen must be
 given an opportunity to present her case effectively, which includes a hearing and
 some consideration of individual circumstances.
        113. In addition, where Congress has granted statutory rights and
 authorized procedures applicable to arriving and present non-citizens, rights under
 the Due Process Clause attach to those statutory rights. The Executive Order
 deprives non-citizens of those statutory rights.



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       114. For instance, Sections 3 and 5 of the Executive Order, and
 Defendants’ actions implementing the Executive Order, deprive non-citizens
 arriving in the United States, including in Hawai‘i, of their statutory rights to apply
 for asylum and withholding of removal in the United States.
       115.    Through their actions described in this Complaint, Defendants have
 violated the Procedural Due Process guarantees of the Fifth Amendment.
 Defendants’ violation inflicts ongoing harm upon Mr. Elshikh, his family, and
 members of his Mosque, as well as other Hawai‘i residents and the sovereign
 interests of the State of Hawai‘i.
                                       COUNT V
                        (Religious Freedom Restoration Act)
       116. The foregoing allegations are realleged and incorporated by reference
 herein.
       117. The Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §
 2000bb-1(a), prohibits the Federal Government from substantially burdening the
 exercise of religion, even if the burden results from a rule of general applicability.
       118. Section 3 of the Executive Order and Defendants’ actions to
 implement the Executive Order impose a substantial burden on the exercise of
 religion.
       119. Among other injuries, non-citizens detained upon arrival in the United
 States are hindered in or prevented from exercising their religion while in detention.
 Non-citizens currently in the United States are prevented from travelling abroad on
 religious trips, including pilgrimages or trips to attend religious ceremonies
 overseas. Non-citizens currently outside the United States cannot enter the United
 States to reunite with their families or religious communities. And religious
 communities in the United States cannot welcome visitors, including religious
 workers, from designated countries.

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       120. Through their actions described in this Complaint, Defendants have
 violated the RFRA. Defendants’ violation inflicts ongoing harm upon Mr. Elshikh,
 his family, and members of his Mosque, as well as other Hawai‘i residents and the
 sovereign interests of the State of Hawai‘i.
                                   COUNT VI
      (Substantive Violation of the Administrative Procedure Act through
      Violations of the Constitution, Immigration and Nationality Act, and
                        Arbitrary and Capricious Action)
       121. The foregoing allegations are realleged and incorporated by reference
 herein.
       122. The APA requires courts to hold unlawful and set aside any agency
 action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in
 accordance with law”; “contrary to constitutional right, power, privilege, or
 immunity”; or “in excess of statutory jurisdiction, authority, or limitations, or short
 of statutory right.” 5 U.S.C. § 706(2)(A)-(C).
       123. In enacting and implementing Sections 3 and 5 of the Executive Order,
 Defendants have acted contrary to the Establishment Clause and Fifth Amendment
 of the United States Constitution.
       124. In enacting and implementing Sections 3 and 5 of the Executive Order,
 Defendants have acted contrary to the INA, the RFRA, and the United Nations
 Protocol Relating to the Status of Refugees. Defendants have exceeded their
 statutory authority, engaged in nationality- and religion-based discrimination, and
 failed to vindicate statutory rights guaranteed by the INA.
       125. Further, in enacting and implementing Sections 3 and 5 of the
 Executive Order, Defendants have acted arbitrarily and capriciously. Among other
 arbitrary actions and omissions, Defendants have offered no explanation for the
 countries that are and are not included within the scope of the Executive Order.



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 The Executive Order purports to protect the country from terrorism, but sweeps in
 millions of people who have absolutely no connection to terrorism. And while
 Defendants have reversed course in their application of the Executive Order to
 lawful permanent residents, Defendants again acted without explanation, and have
 yet to explain how all other people with valid visas to enter the country pose a
 security threat.
       126. Through their actions described in this Complaint, Defendants have
 violated the substantive requirements of the APA. Defendants’ violation inflicts
 ongoing harm upon Mr. Elshikh, his family, and members of his Mosque, as well
 as other Hawai‘i residents and the sovereign interests of the State of Hawai‘i.
                                    COUNT VII
           (Procedural Violation of the Administrative Procedure Act)
       127. The foregoing allegations are realleged and incorporated by reference
 herein.
       128. The APA requires courts to hold unlawful and set aside any agency
 action taken “without observance of procedure required by law.” 5 U.S.C. §
 706(2)(D).
       129. The Departments of State and Homeland Security are “agencies”
 under the APA. See 5 U.S.C. § 551(1).
       130. The APA requires that agencies follow rulemaking procedures before
 engaging in action that impacts substantive rights. See 5 U.S.C. § 553.
       131. In implementing Sections 3 and 5 of the Executive Order, federal
 agencies have changed the substantive criteria by which individuals from the seven
 designated countries may enter the United States. This, among other actions by
 Defendants, impacts substantive rights.
       132. Defendants did not follow the rulemaking procedures required by the
 APA in enacting and implementing the Executive Order.

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       133. Through their actions described in this Complaint, Defendants have
 violated the procedural requirements of the APA. Defendants’ violation inflicts
 ongoing harm upon Mr. Elshikh, his family, and members of his Mosque, as well
 as other Hawai‘i residents and the sovereign interests of the State of Hawai‘i.
                                 PRAYER FOR RELIEF
       134. WHEREFORE, Plaintiffs pray that the Court:
              a.      Declare that Sections 3(c), 5(a)-(c), and 5(e) of President
                      Trump’s Executive Order are unauthorized by, and contrary to,
                      the Constitution and laws of the United States;
              b.      Enjoin Defendants from implementing or enforcing Sections
                      3(c), 5(a)-(c), and 5(e) across the nation;
              c.      Pursuant to Federal Rule of Civil Procedure 65(b)(2), set an
                      expedited hearing within fourteen (14) days to determine
                      whether the Temporary Restraining Order should be extended;
                      and
              d.      Award such additional relief as the interests of justice may
                      require.

 DATED:       Honolulu, Hawai‘i, February 13, 2017.

                                            Respectfully submitted,

 /s/ Neal K. Katyal                      /s/ Douglas S. Chin

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